

Matter of Levitt (2024 NY Slip Op 06518)





Matter of Levitt


2024 NY Slip Op 06518


Decided on December 20, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 20, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CURRAN, J.P., BANNISTER, MONTOUR, GREENWOOD, AND HANNAH, JJ. (Filed Nov. 26, 2024.)


&amp;em;

[*1]MATTER OF JOSHUA GERALD LEVITT, AN ATTORNEY, RESIGNOR.



MEMORANDUM AND ORDER
Application to resign for non-disciplinary reasons accepted and name removed from roll of attorneys.








